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                        UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF TEXAS
                               VICTORIA DIVISION
    In re:                           §
                                     §   Case No. 22-60020
    INFOW, LLC, et al.,              §
                                     §   Chapter 11 (Subchapter V)
        Debtors. 1
                                     §
                                     §   Jointly Administered

OBJECTION TO DEBTORS’ EMERGENCY MOTION FOR ORDER AUTHORIZING
    APPOINTMENT OF RUSSELL F. NELMS AND RICHARD S. SCHMIDT AS
 TRUSTEES OF THE 2022 LITIGATION SETTLEMENT TRUST AND GRANTING
                            RELATED RELIEF
                       (Relates to Docket No. 6 & 18)

         Creditors Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, and Marcel

Fontaine (collectively, the “Texas Litigation Plaintiffs”) hereby join the Objection of United States

Trustee to Debtors’ Emergency Motion for Order Authorizing Appointment of Russell F. Nelms and Richard S.

Schmidt as Trustees of The 2022 Litigation Settlement Trust and Granting Related Relief which was filed at

Docket No. 18 (the “UST Objection”). For the reasons stated in the UST Objection, the Texas

Litigation Plaintiffs request that this Court deny the Debtors’ motion and grant such other and further

relief as it may deem just and proper.




                                     [Remainder of Page Left Intentionally Blank]




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  The Debtors in these chapter 11 cases along with the last four digits of each Debtor’s federal tax identification number
are as follows: InfoW, LLC, f/k/a Infowars, LLC (6916), IWHealth, LLC f/k/a Infowars Health, LLC (no EIN), Prison
Planet TV, LLC (0005). The address for service to the Debtors is PO Box 1819, Houston, TX 77251-1819.
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Dated: April 21, 2022                                  Respectfully submitted,
                                                       THE BEATTY LAW FIRM PC

                                                       By: /s/J. Maxwell Beatty
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                                                       Counsel for the Texas Litigation Plaintiffs




                               CERTIFICATE OF SERVICE

        I certify that, on April 21, 2022, a copy of the foregoing motion was served on all parties
registered to receive such service via the Court’s ECF system.

                                                       /s/ J. Maxwell Beatty
                                                           J. Maxwell Beatty
